      Case 3:12-cv-01199-BR       Document 43        Filed 11/09/12    Page 1 of 10




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      Attorneys for Plaintiff
      SOLAR NATION, INC.

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tsmith@cablehuston.com

      Attorney for Defendants


                          UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF OREGON

                                     Portland Division



SOLAR NATION, INC., a Delaware corporation,                     Case No: 3:12-cv-1199-BR
             Plaintiff,
      vs.                                                                AMENDED
SOLAR JONES, INC., a Nevada corporation;                          STIPULATED FINAL
JONATHAN KERSEY, a Nevada resident;                        JUDGMENT AND ORDER FOR
JEREMY TROUSDALE, a California resident;                 PERMANENT INJUNCTION AND
RON KIRKPATRICK, an Oklahoma resident; and                  OTHER EQUITABLE RELIEF
PAGE I-AMENDED            STIPULATED                          HINSHAW & CULBERTSON LLP
                                                                     1000 SW Broadway
FINAL JUDGMENT AND ORDER FOR                                             Suite 1250
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        Case 3:12-cv-01199-BR          Document 43       Filed 11/09/12      Page 2 of 10




 RICHARD HILBUN, a Montana resident,

                 Defendants.




        Plaintiff("PLAINTIFF") SOLAR NATION, INC, by and through its attorneys, Dayna E.

 Underhill and Clint D. Robison, has filed a Complaint for Violation of Oregon Trade Secrets Act

 ORS 646.461 et seq., Breach of Contract, Conversion, Trespass to Chattels, Breach of

Confidence, Breach of Covenant of Good Faith and Fair Dealing ("Complaint") against

DEFENDANTS. DEFENDANTS, by and through their attorney, Timothy D. Smith, appeared in

response to the Complaint.

        PLAINTIFF and DEFENDANTS, by and through counsel and the assistance of the Hon.

Michael Simon, serving as judicial settlement conference judge, have agreed to settlement of this

action without adjudication of fact or law, and without DEFENDANTS admitting any of the

non-jurisdictional facts alleged in the Complaint or liability for any of the violations alleged in

the Complaint.

       To resolve all matters of dispute between them in this action, PLAINTIFF and

DEFENDANTS hereby stipulate to the entry of, and request the Court to enter, this

Stipulated Final Judgment and Order for Permanent Injunction and Other Equitable

Relief ("Order"):

       I.        This Comi has jurisdiction over the subject matter of this case and jurisdiction

over all parties pursuant to 28 U.S.C. § 1332;

       2.        Venue in the United States District Court District of Oregon P01iland Division

is proper under 28 U.S.C. § 1391;

       3.        The Complaint states claims upon which relief can be granted under the

common law of the State of Oregon, Fed. R. Civ. P. 65 and Oregon Uniform Trade Secrets Act,

ORS 646.461 et seq., and 15 U.S.C. § 1117;


PAGE 2 -AMENDED           STIPULATED                               HINSHAW & CULBERTSON LLP
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        Case 3:12-cv-01199-BR           Document 43        Filed 11/09/12       Page 3 of 10




         4.       PLAINTIFF and DEFENDANTS have entered into this Order freely and

 without coercion, and DEFENDANTS acknowledge that they have read the provisions of this

 Order and are prepared to abide by them;

        5.        The undersigned, individually and through their counsel have agreed that the

 entry of this Order resolves all matters of dispute between them arising from the Complaint in

this action, up to the date of the entry of this Order;

        6.        DEFENDANTS waive service of a summons and all rights to seek judicial

review or otherwise challenge or contest the validity of this Order;

        7.        Pursuant to Federal Rule of Civil Procedure 65(d) the provisions of this Order

are binding upon DEFENDANTS, and their officers, agents, servants, employees, and attorneys

who receive actual notice of this Order by personal service or otherwise and as agreed herein to

DEFENDANTS' directors, shareholders, spouses, heirs and assigns and all other persons or

entities in active concert or participation with DEFENDANTS who receive actual notice of this

Order by personal service or otherwise.

        8.       This Order is remedial in nature and shall not be deemed or construed as a fine,

damages, penalty, or punitive assessment;

        9.       Each party shall bear its own costs and attorney's fees.

                                                      I.
                                              DEFINITIONS
        I.     Corporate Defendant means Solar Jones, Inc.

       2.      Individual Defendants means JONATHAN KERSEY, a Nevada resident;

JEREMY TROUSDALE, a California resident; RON KIRKPATRICK, an Oklahoma resident;

and RICHARD HILBUN, a Montana resident.

       3.      Defendants means all of the Individual Defendants and the Corporate Defendant,

individually, collectively, or in any combination.



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          Case 3:12-cv-01199-BR        Document 43        Filed 11/09/12       Page 4 of 10




          4.    Restricted Entities means: the individuals and entities (as well as their affiliates
and subsidiaries) identified on the Restricted Entitv List, attached hereto as Exhibit A.

          5.    Competition with respect to a Restricted Entity means: directly or indirectly
providing goods or services to; contacting for business purposes; soliciting; bidding or offering

to bid to; selling or offering to sell to; diverting business to; delivering to; accepting business or

orders fi·om; contracting with; working as an employee or contractor for;             accepting any

compensation from directly or indirectly or otherwise dealing with. This refers to actions taken

individually, or as an owner, proprietor, manager, officer, agent or servant of another person or

entity.

          6.   "Protected Information" is defined as converting any infmmation regarding the
following:
                   (i) Plaintiffs past and present sales activity and data; potential leads
                   on new customers, sales and products; current customer and sales
                   contact information; product pricing data; order data; discussions
                   and/or negotiations with past, present and potential customers; past,
                   existing and future project information; and proprietary product design
                   information.
          7.   "Protected Information" also includes the following Solar Nation, Inc. ("SN") and
PK Solar, Inc. ("PK") information:


                  (ii) infmmation, formulae, compilations, software programs (including
                  object codes and source codes), devices, methods, techniques,
                  drawings, plans, experimental and research work, inventions, patterns,
                  processes and know-how, whether or not patentable, and whether or
                  not at a commercial stage related to SN and PK Solar, Inc.'s business
                  or any subsidiary thereof; (ii) the names, buying habits or practices of
                  SN's and PK Solar's customers; (iii) SN's and PK Solar's marketing
                  methods and related data; (iv) SN's and PK Solar's costs of materials;
                  (vi) the prices SN or PK Solar obtains or has obtained or at which SN's
                  and PK Solar's sells (sic) or has sold its products or services; (vii) lists
                  or other written records used in SN's or PK Solar's Business; (viii)
                  compensation paid to employees and other terms of employment; and
                  (ix) any other confidential information of, about or concerning the
                  SN's or PK Solar's Business, its manner of operation, or other
                  confidential data of any kind, nature, or description.
PAGE4-AMENDED.            STIPULATED                                 HINSHAW & CULBERTSON LLP
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        Case 3:12-cv-01199-BR          Document 43         Filed 11/09/12    Page 5 of 10




                                                     II.
               DEFENDANTS ARE PERMANENTLY ENJOINED and RESTRAINED from:

          I.       Directly or indirectly accessing, possessing, retaining, copying or using any

 Solar Nation, Inc. Protected Information in any manner, specifically including without limitation

 all business and personal purposes; and

         2.        Directly or indirectly disclosing, transmitting or making available in any

 manner, to any person or entity other than Plaintiff, any Protected Information except as may be

 necessary to comply with the terms of paragraph 3 of the Settlement Agreement, attached hereto

 as Exhibit B, which requires return of such information to Solar Nation, Inc.; and

         3.        For a period of four (4) years, Defendants shall not engage in Competition

 (directly or indirectly) with Solar Nation, Inc. and any of its affiliates and subsidia1ies, with

 respect to the Restricted Entities.



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                                                                              Suite 1250
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                                                                       Facsimile: 503-243-3240
       Case 3:12-cv-01199-BR             Document 43           Filed 11/09/12     Page 6 of 10




                                                        III.

             ACKNOWLEDGEMENT OF RECEIPT OF ORDER BY DEFENDANTS

       IT IS FURTHER ORDERED that within seven (7) business days of Defendants'

counsel's receipt of this entered Order, all Defendants shall submit to the Court a truthful sworn

statement acknowledging receipt of this Order.

       STIPULATED TO and DATED this gth day of November, 2012.


CABLE HUSTON BENEDICT                               HINSHAW & CULBERTSON LLP
HAAGENSEN & LLOYD, LLP

By: Is/ Timothy Smith                               By: Is/ Dayna E. Underhill
  Timothy Smith, OSB No. 914374                        Dayna E. Underhill, OSB No. 926004
  Attorney for Defendants                              Clint D. Robison, Pro Hac Vice
                                                       Attorneys for Plaintiff Solar Nation, Inc.



      IT IS SO ORDERED:


      DATED :-----'1'-\(\-'_ci+lf<J'--.....:./_V
                                               __
                                                         Honorable District Judge Anna J. Brown




PAGE 6-AMENDED            STIPULATED                                    HINSHAW & CULBERTSON LLP
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                                                                            Facsimile: 503-243-3240
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       Case 3:12-cv-01199-BR           Document 43        Filed 11/09/12       Page 7 of 10




                         CERTIFICATE OF FILING AND SERVICE

        I hereby certify that on November 8, 2012, I electronically filed the foregoing

AMENDED                      STIPULATED FINAL JUDGMENT AND ORDER FOR

PERMANENT INJUNCTION AND OTHER EQUITABLE RELIEF and served on the parties

or attorneys for parties identified herein, in the manner and on the date set forth below:

       !8]     Will be mailed via first class mail or notified via the court's electronic filing
               system if cunently signed up:

Timothy D. Smith
Cable Huston et a!
1001 SW 5th Ave Ste 2000
Portland, OR 97204

Attorney for Defendants



       Respectfully submitted, this 81h day ofNovember, 2012.

                                      HINSHAW & CULBERTSON LLP
                                       Is/ Dayna E. Underhill
                                      Dayna E. Underhill, OSB No. 926004
                                      1000 S.W. Broadway, Ste. 1250
                                      Portland, Oregon 97205-3000
                                      Telephone: (503) 243-3243
                                      Facsimile: (503) 243-3240
                                      Email: dunderhill@hinshawlaw.com
                                      Attorney for Plaintiff Solar Nation, Inc.




                           CERTIFICATE OF SERVICE                    HINSHAW & CULBERTSON LLP
                                                                            1000 SW Broadway
                                                                                Suite 1250
                                                                         Portland, OR 97205-3000
                                                                        Telephone: 503-243-3243
                                                                         Facsimile: 503-243-3240
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         Case 3:12-cv-01199-BR           Document 43         Filed 11/09/12      Page 8 of 10




 RESTRICTED ENTITY LIST--Entity (to include individuals, employees, agents, affiliates, and subsidiaries)
 AES Warrior Run
 American Precision Sheet Metal
 Astral Renewable Energy
 AUO Green Energy
 Avidan Management
 Atlantic Realty
 Berry Plastics Corp
 Bethel Heights Vinyard
 Boulevard Energy
 Burlington Beef
 Century Solar
 CPAdvisors
 CRS • Complete Roofing System
 Dynamic Solar
 EDF EN Canada Development
 Energy in the Bank
 Essex County School District
 Evo Earth • Alex Lemus
 Gehrlicher
 Henningsen Cold Storage
 Hovnaniah
Irvington (NJ) Board of Education
Kushner Hebrew Academy
Macys
Metallion Industries
Multiphase
N2K Berry Farm
NEMF
Northwest Technologies
Pi Solar
R&D Coleman
Rogers Machinery
Remark Logistics
Rosauers
Seaboard Solar
Sequoyah
Smiles Fashion
Solrey
Sol systems
Sunham Home Furnishings
SunConnect
Syndicated Solar
True Green Capital
Tube Specialties Company
Turtle & Hughes
Val McHale
Verdi
Wanzek
Warner Energy




                                                                                            Exhibit A
   Case 3:12-cv-01199-BR                 Document 43           Filed 11/09/12          Page 9 of 10




L               --
                          REDACTED
                                                             Agre!lment is entered into in
     . 3. . Consideration. The Parties acknowledge that this ing without limitation the
                                                         includ
cons1deratwn of the mutual promises and covenants herein
following:




                                   REDACTED


                                                                                            agree to
                 b)      Stipulated Pennanent Injunction: The Parties (but not Porter)
                                                                         in the fonn attach ed as
stipulate to the entry of a Pennanent Injunction Order by the Courtupon iruch terms as the Court,
                                                                    or
Exhibit A (specifically incorporated as part of this Agreement)
                                The Parties agree fwther, that each  of the tenns of the Stipulated
in its discretion, may enter.
                                                                        ing specifically the tenns and
Permanent Injunction set forth in Exhibit A attached hereto, includ til>ns, shall apply to each of
                                                                     defini
conditions set forth in Section II of Exhibit A and its applicable
the Defendants.
                                                                             attached as Exhibit A
         Entry of a Pennanent Inunction Order by the Court in the fonn
                                                                     en the Parties. Therefore
constitutes a material condition to the resolution of claims betwe
                                                                      waiver) in the event that the
Plaintiff retains the right to rescind this Agreement (without any
                                                                    any of the tenns of Exhibit A are
Court exercises its discretion in its entry of the Order such that
                                                                     d, notwithstanding the paragraph
materially altered or omitted, or such that the Order is not entere
above.
                                                                               d party to this Suit, does
         Porter acknowledges and agrees that although he is not a name not, therefore, bound by
                                                                        and is
 not stipulate to the entry of the Stipulated Pennanent Injunction, the Court, he agrees to be and
                                                      as  entere d by
 the tenns of the Stipulated Pennanent Injunction




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                                                                                                Exhibit B
                                                                                                Page 1 of 2
  Case 3:12-cv-01199-BR              Document 43         Filed 11/09/12       Page 10 of 10




acknowledges that by signing this Agreement that be will be, bound contractually by each of the
terms set forth in Section II of the Stipulated Permanent Injunction pertaining to non-
competition, and protection of Solar Nation, Inc.'s Protected Information (and all definitions
pertaining to same), as if such terms were explicitly set forth herein.




                                      !REDACTED




  130455210v4 0932923                           3


                                                                                        Exhibit B
                                                                                        Page 2 of2
